     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page11ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2319
                                       #:2499



 1    DAVID C. WEISS
       Special Counsel
 2    LlEO J. WISE
      Principal Senior Assistant Special Counsel
 3    DER^K E. fflNES
       Senior Assistant Special Counsel
 4     SEAN F. MULRVNE
       CHRISTOPHER M. RIGALI
 5     Assistant Special Counsels
             950 Pennsylvania Avenue NW, Room B-200
 6
             Washington, D.C. 20530
 7           Telephone: (771)217-6091
             E-mail: LJW@usdoj.gov, DEH@usdoj.gov
 8
             E-mail: SFM@usdoj.gov; CMR@usdoj.gov
 9
       Attorneys for Plaintiff
10
                                    UNITED STATES OF AMERICA

11
                                   UNITED STATES DISTRICT COURT

12
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA

13
       UNITED STATES OF AMERICA,                    No.2:24-CR-00091-ODW

14
                      Plaintiff,                    No. 2:24-CR-00702-ODW

15                           V.                     PLEA AGREEMENT FOR DEFENDANT
                                                    ALEXANDER SMIRNOV
16
       ALEXANDER SMIRNOV,
                      Defendant.
17

18

19            1. This constitutes the plea agreement between ALEXANDER SMIRNOV
20     ("defendant") and the Office of Special Counsel David C. Weiss (the "SCO-W") in the
21     above-captioned cases. This agreement is limited to the SCO-W and cannot bind any other

22     federal, state, local, or foreign prosecuting, enforcement, administrative, or regulatory

23     authorities.

24                                  RULE 1 UOQ)(Q AGREEMENT
25           2. Defendant understands that this agreement is entered into pursuant to Federal

26     Rule of Criminal Procedure ll(c)(l)(C). Accordingly, defendant understands that, if the
27     Court determines that it will not accept this agreement, including but not limited to the
28     sentencing agreements in paragraph 19, absent a breach of this agreement by defendant
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page22ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2320
                                       #:2500



 1    prior to that determination and whether or not defendant elects to withdraw any guilty

2     pleas entered pursuant to this agreement, this agreement will, with the exception of

 3    paragraph 26 below be rendered null and void and both defendant and the SCO-W will be
 4    relieved of their obligations under this agreement. Defendant agrees, however, that if

 5     defendant breaches this agreement prior to the Court's determination whether or not to

 6     accept this agreement, the breach provisions of this agreement, paragraphs 28 and 29

 7     below, will control, with the result that defendant will not be able to withdraw any guilty

      pleas entered pursuant to this agreement, the SCO-W will be relieved of all of its

 9     obligations under this agreement, and the Court's failure to follow any recommendation

10     or request regarding sentence set forth in this agreement will not provide a basis for

11     defendant to withdraw defendant's guilty pleas.

12                                  DEFENDANT'S OBLIGATIONS
13           3. Defendant agrees to:
14                  a. At the earliest opportunity requested by the SCO-W and provided by
15     the Court, appear and plead guilty to:
16                         i. Count Two of the indictment in United States v. Alexander

17     Smirnov, 2:24-CR-00091-ODW, which charges defendant with causing the creation of a

18     false and fictitious record in a federal investigation, in violation of 18 U.S.C. § 1519

19     (hereafter the "obstruction of justice indictment").

20                         ii. Counts One, Five and Eight, of the indictment in United States

21     v Alexander Smirnov, 2:24-CR-00702-ODW, which charges the defendant with tax

22     evasion for tax years 2020, 2021 and 2022, in violation of 26 U.S.C. § 7201 (hereafter the
23     "tax evasion indictment").

24                  b. Request that the Court sentence the defendant within 30 days of entry

25     of the entry of his guilty pleas, but not sooner than January 8,2025.
26                  c. Not contest facts agreed to in this agreement.
27                  d. Abide by all agreements regarding sentencing contained in this
28     agreement.

                                                   2
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page33ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2321
                                       #:2501




 1 || e. Appear for all court appearances, surrender as ordered for service of

 2 sentence, obey all conditions of any bond, and obey any other ongoing court order in this

 3 II matter.

 4 f. Not commit any crime; however, offenses that would be excluded for

 5 || sentencing purposes under United States Sentencing Guidelines ("U.S.S.G." or

 6 || "Sentencing Guidelines") § 4A1.2(c) are not within the scope of this agreement.

 7 g. Be truthful at all times with the United States Probation and Pretrial

       Services Office and the Court.

 9 || h. Pay the applicable special assessments at or before the time of

10 || sentencing unless defendant has demonstrated a lack of ability to pay such assessments.

11 || PAYMENT OF TAXES OWED
12 4. Defendant admits that he received unreported income in the amounts of

13 || $1,350,000 for tax year 2020, $500,000 for tax year 2021 and $300,000 for tax year 2022.

14 II Defendant agrees that:

15 a. Nothing in this agreement forecloses or limits the ability of the Internal

16 || Revenue Service to examine and make adjustments to defendant's returns.

17                  b. Defendant will not file any claim for refund of taxes, penalties, or

18     interest for amounts attributable to the to the subject matter of this plea agreement.

19                  c. Defendant may be liable for the fraud penalty imposed by the Internal
20     Revenue Code, 26 U.S.C. § 6663, on the understatements of tax liabilities for 2020, 2021

21     and 2022.

22                  d. Defendant gives up any and all objections that could be asserted to the

23     Examination Division of the Internal Revenue Service receiving materials or information

24     obtained during the criminal investigation of this matter, including materials and
25     information obtained through grand jury subpoenas.

26                                  THE SCO-W'S OBLIGATIONS
27           5. The SCO-W agrees to:

28                  a. Not contest facts agreed to in this agreement.
                                                   3
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page44ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2322
                                       #:2502




                    b. Request that the Court sentence the defendant within 30 days of the

      entry of his guilty pleas, but not sooner than January 8, 2025.

                    c. Abide by all agreements regarding sentencing contained in this

      agreement and affirmatively recommend to the Court that it impose sentence in accordance

 5    with paragraph 20 of this agreement.

 6                  d. At the time of sentencing, move to dismiss the remaining counts of the

 7     obstruction of justice indictment and tax evasion indictment against defendant. Defendant

       agrees, however, that at the time of sentencing the Court may consider any dismissed

       charges in determining the applicable Sentencing Guidelines range, the propriety and
10     extent of any departure from that range, and the sentence to be imposed.
11                  e. Not further prosecute defendant for defendant's conduct described in

12     the agreed-to factual basis set forth in Exhibit B, or otherwise known to the government

13     and arising out of defendant's false statement and creation of a false and fictitious record,

14     evasion of assessment, or false or fraudulent tax return.

15                                   NATURE OF THE OFFENSES
16           6. Defendant understands that for defendant to be guilty of the crime charged in

17     Count Two in the obstruction of justice indictment, that is, causing the creation of a false

18     and fictitious record, in violation of 18 U.S.C. § 1519, the following must be true:

19                  a. First, defendant knowingly caused the making of a false entry in an

20     FBI Form 1023, a record and document; and

21                  b. Second, defendant acted with the intent to impede, obstruct, or

22     influence an actual or contemplated investigation of a matter within the jurisdiction of the

23     United States Department of Justice, a department and agency of the United States.

24           7. Defendant understands that for defendant to be guilty of the crime charged in

25     Counts One, Five and Eight in the tax evasion indictment, in violation of 26 U.S.C. § 7201,

26     the following must be true:

27

28
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page55ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2323
                                       #:2503




 1 || a. First, the defendant owed more federal income tax for the tax years

 2 || 2020,2021 and 2022 than was declared due on the defendant's income tax returns for each

 3 calendar year.

 4 || b. Second, the defendant knew that more federal income tax was owed

 5 II than was declared due on the defendant's income tax returns.

 6 || c. Third, the defendant made an affirmative attempt to evade or defeat

 7 || such additional tax, including at least one of the affirmative acts charged in the tax evasion

       indictment.

 9 || d. Fourth, in attempting to evade or defeat such additional tax, the

10 || defendant acted willfully.

11 11 PENALTIES AND RESTITUTION
12 || 8. Defendant understands that the statutory maximum sentence that the Court

13 II can impose for a violation of:

14 || a. 18 U.S.C. § 1519 (Count Two of the obstruction of justice indictment),

15 || is: 20 years imprisonment; a 3-year period of supervised release; a fine of $250,000; and

16     a mandatory special assessment of $100; and

17                   b. 26 U.S.C. § 7201 (Counts One, Five and Eight of the tax evasion

18     indictment), is 5 years imprisonment; a 3-year period of supervised release; a fine of

19     $250,000 or twice the gross gain or gross loss resulting from the offense, whichever is

20     greatest; and a mandatory special assessment of $100.

21           9. Defendant understands, therefore, that the total maximum sentence for all

22     offenses to which defendant is pleading guilty is: 35 years imprisonment; a 3-year period
23     of supervised release; a fine of $1,000,000 or twice the gross gain or gross loss resulting

24     from the offense, whichever is greatest; and a mandatory special assessment of $400.

25           10. Defendant understands that supervised release is a period of time following

26     imprisonment during which defendant will be subject to various restrictions and

27     requirements. Defendant understands that if defendant violates one or more of the

28     conditions of any supervised release imposed, defendant may be returned to prison for all

                                                  5
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page66ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2324
                                       #:2504




      or part of the term of supervised release authorized by statute for the offense that resulted

       in the term of supervised release, which could result in defendant serving a total term of

 3     imprisonment greater than the statutory maximum stated above.

 4           11. Defendant understands that, by pleading guilty, defendant may be giving up

       valuable government benefits and valuable civic rights, such as the right to vote, the right

       to possess a firearm, the right to hold office, and the right to serve on a jury. Defendant

       understands that he is pleading guilty to a felony and that it is a federal crime for a

       convicted felon to possess a firearm or ammunition. Defendant understands that the

       convictions in this case may also subject defendant to various other collateral

10     consequences, including but not limited to revocation of probation, parole, or supervised
11     release in another case and suspension or revocation of a professional license. Defendant

12     understands that unanticipated collateral consequences will not serve as grounds to

13     withdraw defendant's guilty pleas.

14            12. Defendant agrees to pay restitution to the Internal Revenue Service for his

15     federal individual income taxes in an amount to be determined by the court, pursuant to

16     18U.S.C.§3663(a)(3).
17            13. Defendant agrees that restitution to the IRS is due and payable immediately
18     after the judgment is entered and is subject to immediate enforcement in full by the United
19     States. If the Court imposes a schedule of payments, Defendant agrees that the schedule

20     of payments is a schedule of the minimum payment due, and that the payment schedule

21     does not prohibit or limit the methods by which the United States may immediately enforce
22     the judgment in full.
23            14. The IRS will use the amount of restitution ordered as the basis for a civil

24     assessment under 26 U.S.C. § 6201 (a)(4). Defendant does not have the right to challenge
25     the amount of this restitution-based assessment. 26 U.S.C. § 6201(a)(4)(C). Neither the

26     existence of a restitution payment schedule nor Defendant's timely payment of restitution

27     according to that schedule will preclude the IRS from immediately collecting the full
28     amount of the restitution-based assessment.

                                                   6
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page77ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2325
                                       #:2505




 1                                 IMMIGRATION CONSEQUENCES
 2           15. Defendant understands that, if defendant is not a United States citizen, the

 3     felony convictions in this case may subject defendant to: removal, also known as

 4     deportation, which may, under some circumstances, be mandatory; denial of citizenship;

 5     and denial of admission to the United States in the future. The Court cannot, and

 6     defendant's attorney also may not be able to, advise defendant fully regarding the

 7     immigration consequences of the felony convictions in this case. Defendant understands

       that unexpected immigration consequences will not serve as grounds to withdraw

 9     defendant's guilty pleas.

10                                          FACTUAL BASIS
11            16. Defendant admits that defendant is, in fact, guilty of the offenses to which

12     defendant is agreeing to plead guilty. Defendant and the SCO-W agree to the statement

13     of facts attached as Exhibit "B" and agree that this statement of facts is sufficient to support

14     pleas of guilty to the charges described in this agreement and to establish the Sentencing
15     Guidelines factors set forth in paragraph 19 below, but is not meant to be a complete

16     recitation of all facts relevant to the underlying criminal conduct or all facts known to

17     either party that relate to that conduct.

18                  SENTENCING FACTORS AND AGREED-UPON SENTENCE
19            17. Defendant understands that in determining defendant's sentence the Court is

20     required to calculate the applicable Sentencing Guidelines range and to consider that

21     range, possible departures under the Sentencing Guidelines, and the other sentencing
22     factors set forth in 18 U.S.C. § 3553(a). Defendant understands that the Sentencing

23     Guidelines are advisory only.

24            18. Defendant and the SCO-W agree that the base offense level for Count Two

25     in the obstruction indictment is 14, pursuant to U.S.S.G. § 2J1.2(a)(2) and the base offense

26     level for Counts One, Five and Eight is 20, pursuant to U.S.S.G. § 2T4.1(H). Defendant

27     and the SCO-W reserve the right to argue that additional specific offense characteristics,

28     adjustments, and departures under the Sentencing Guidelines are appropriate.

                                                    7
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page88ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2326
                                       #:2506




1            19. Defendant and the SCO-W agree that, taking into account the factors listed

2     in 18 U.S.C. § 3553(a)(l)-(7) and the relevant sentencing guideline factors, an appropriate

3     disposition of this case is that the Court impose a sentence of: no less than 48 months

 4    and no greater than 72 months' imprisonment; 1 year supervised release with

 5    conditions to be fixed by the Court; $400 special assessment; $675,502 restitution and

      no fine. The parties also agree that the defendant is entitled to credit in both Cr. Nos. 24-

       91 and 24-702 for the period of his pretrial detention since the day of his arrest and that

       credits that the Bureau of Prisons may allow under 18 U.S.C. § 3585(b)) may be credited
 9     against this stipulated sentence, including credit under Sentencing Guideline § 5G1.3.

10                           WAIVER OF CONSTITUTIONAL RIGHTS
11           20. Defendant understands that by pleading guilty, defendant gives up the
12     following rights:
13                  a. The right to persist in a plea of not guilty.

14                  b. The right to a speedy and public trial by jury.
15                  c. The right to be represented by counsel—and, if necessary, have the

16     Court appoint counsel—at trial. Defendant understands, however, that, defendant retains

17     the right to be represented by counsel—and, if necessary, have the Court appoint counsel

18     — at every other stage of the proceeding.
19                  d. The right to be presumed innocent and to have the burden of proof

20     placed on the government to prove defendant guilty beyond a reasonable doubt.
21                  e. The right to confront and cross-examine witnesses against defendant.

22                  f. The right to testify and to present evidence in opposition to the charges,

23     including the right to compel the attendance of witnesses to testify.
24                  g. The right not to be compelled to testify, and, if defendant chose not to
25     testify or present evidence, to have that choice not be used against defendant.

26                  h. Any and all rights to pursue any affirmative defenses, Fourth

27     Amendment or Fifth Amendment claims, and other pretrial motions that have been filed

28     or could be filed.
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page99ofof24
                                                                         24 Page
                                                                             PageID
                                                                                  ID
                                       #:2327
                                       #:2507




 1                            WAIVER OF APPEAL OF CONVICTION
2            21. Defendant understands that, with the exception of an appeal based on a claim

 3    that defendant's guilty pleas were involuntary, by pleading guilty defendant is waiving
 4    and giving up any right to appeal defendant's convictions on the offenses to which

 5    defendant is pleading guilty. Defendant understands that this waiver includes, but is not

 6    limited to, arguments that the statutes to which defendant is pleading guilty are
 7    unconstitutional, and all claims that the statement of facts provided herein is insufficient

 8    to support defendant's pleas of guilty.
 9                  LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE
10           22. Defendant agrees that, provided the Court imposes the sentence specified in

11    paragraph 19 above, including a sentence within the agreed upon range, the agreed upon
12     restitution, the agreed upon supervised release term and the agreement for no fine,

13     defendant gives up the right to appeal any portion of that sentence, and the procedures and

14     calculations used to determine and impose any portion of that sentence.

15           23. The SCO-W agrees that, provided the Court imposes the sentence specified

16     in paragraph 19 above, including a sentence within the agreed upon range, the agreed upon

17     restitution, the agreed upon supervised release term and the agreement for no fine, the

18     SCO-W gives up its right to appeal any portion of that sentence, and the procedures and

19     calculations used to determine and impose any portion of that sentence.

20                             WAIVER OF COLLATERAL ATTACK
21           24. Defendant also gives up any right to bring a post-conviction collateral attack

22     on the convictions or sentence, including any order of restitution, except a post-conviction

23     collateral attack based on a claim of ineffective assistance of counsel, a claim of newly

24     discovered evidence, or an explicitly retroactive change in the applicable Sentencing

25     Guidelines, sentencing statutes, or statutes of conviction. Defendant understands that this

26     waiver includes, but is not limited to, arguments that the statutes to which defendant is

27     pleading guilty are unconstitutional, and any and all claims that the statement of facts

28     provided herein is insufficient to support defendant's plea of guilty.

                                                  9
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page10
                                                                   10ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2328
                                       #:2508



1                         RESULT OF WITHDRAWAL OF GUILTY PLEA
2            25. Defendant agrees that if, after entering guilty pleas pursuant to this
 3     agreement, defendant seeks to withdraw and succeeds in withdrawing defendant's guilty
 4     pleas on any basis other than a claim and finding that entry into this plea agreement was

       involuntary, then (a) the SCO-W will be relieved of all of its obligations under this

       agreement; and (b) should the SCO-W choose to pursue any charge or any civil,

       administrative, or regulatory action that was either dismissed or not filed as a result of this

       agreement, then (i) any applicable statute of limitations will be tolled between the date of

       defendant's signing of this agreement and the withdrawal of the plea; and (ii) defendant
10     waives and gives up all defenses based on the statute of limitations, any claim of pre-
11     indictment delay, or any speedy trial claim with respect to any such action, except to the
12     extent that such defenses existed as of the date of defendant's signing this agreement, or

13     as a result of the additional time lapse after the plea is withdrawn.

14                               EFFECTIVE DATE OF AGREEMENT
15            26. This agreement is effective upon signature and execution of all required
16     certifications by defendant, defendant's counsel, and an Assistant Special Counsel.

17                                    BREACH OF AGREEMENT
18            27. Defendant agrees that if defendant, at any time after the signature of this

19     agreement and execution of all required certifications by defendant, defendant's counsel,

20     and an Assistant Special Counsel, knowingly violates or fails to perform any of

21     defendant's obligations under this agreement ("a breach"), the SCO-W may declare this

22     agreement breached. All of defendant's obligations are material, and therefore a single

23     breach of this agreement is sufficient for the SCO-W to declare a breach, and defendant

24     shall not be deemed to have cured a breach without the express agreement of the SCO-W

25     in writing. If the SCO-W declares this agreement breached, and the Court finds such a

26     breach to have occurred, then: (a) if defendant has previously entered guilty pleas pursuant

27     to this agreement, defendant will not be able to withdraw the guilty pleas, (b) the SCO-W
28     will be relieved of all its obligations under this agreement, and (c) the Court's failure to
                                                   10
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page11
                                                                   11ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2329
                                       #:2509



 1     follow any recommendation or request regarding the sentence set forth in this agreement

2      will not provide a basis for defendant to withdraw defendant's guilty pleas.

 3           28. Following the Court's finding of a knowing breach of this agreement by

 4     defendant, should SCO-W choose to pursue any charge or any civil, administrative, or

 5     regulatory action that was either dismissed or not filed as a result of this agreement, then:

 6                    a. Defendant agrees that any applicable statute of limitations is tolled

 7     between the date of defendant's signing of this agreement and the court's finding of a

 8     breach.

 9                    b. Defendant waives and gives up all defenses based on the statute of

10     limitations, any claim of pre-indictment delay, or any speedy trial claim with respect to

11     any such action, except to the extent that such defenses existed as of the date of defendant's

12     signing this agreement or as a result of the additional time lapse after the court's finding

13     of a breach.

14                    c. Except in the event that the plea is withdrawn under Federal Rule of

15     Criminal Procedure ll(c)(l)(C), defendant agrees that: (i) any statements made by
16     defendant, under oath, at the guilty plea hearing (if such a hearing occurred prior to the

17     breach); (ii) the agreed to factual basis statement in this agreement; and (iii) any evidence
18     derived from such statements, shall be admissible against defendant in any such action

19     against defendant, and defendant waives and gives up any claim under the United States

20     Constitution, any statute, Rule 410 of the Federal Rules of Evidence, Rule ll(f) of the

21     Federal Rules of Criminal Procedure, or any other federal rule, that the statements or any

22     evidence derived from the statements should be suppressed or are inadmissible.

23          COURT ANDUNITED STATES PROBATION ANDPRETRIAL SERVICES
24                                      OFFICE NOT PARTIES
25            29. Defendant understands that the Court and the United States Probation and

26     Pretrial Services Office are not parties to this agreement and need not accept any of the

27     parties' agreements to facts, sentencing factors, or sentencing. Defendant understands that

28     the Court will determine the facts, sentencing factors, and other considerations relevant to

                                                   11
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page12
                                                                   12ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2330
                                       #:2510



 1     sentencing and will decide for itself whether to accept and agree to be bound by this

2      agreement.

 3           30. Defendant understands that both defendant and the SCO-W are free to:

 4     (a) supplement the facts by supplying relevant information to the United States Probation
 5     and Pretrial Services Office and the Court, and (b) correct any and all factual

 6     misstatements relating to the Court's Sentencing Guidelines calculations and

 7     determination of sentence. While this paragraph permits both the SCO-W and defendant

       to submit full and complete factual information to the United States Probation and Pretrial

 9     Services Office and the Court, this paragraph does not affect defendant's and the SCO-

10     W's obligations not to contest the facts agreed to in this agreement.

11                                NO ADDITIONAL AGREEMENTS
12           31. Defendant understands that, except as set forth herein, there are no promises,

13     understandings, or agreements between the SCO-W and defendant or defendant's

14     attorney, and that no additional promise, understanding, or agreement may be entered into

15     unless in a writing signed by all parties or on the record in court.

16                  PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING
17           32. The parties agree that this agreement will be considered part of the record of
18     defendant's guilty plea hearing as if the entire agreement had been read into the record of

19     the proceeding.
20     //
21     //
22     //
23

24

25

26

27

28

                                                   12
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page13
                                                                   13ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2331
                                       #:2511



 1     AGREED AND ACCEPTED:

       OFFICE OF SPECIAL COUNSEL
 3     UNITED STATES DEPARTMENT OF
 4 || JUSTICE
 5     DAVID C. WEISS
       Special Counsel




                     / •?" (
 9

10     LEO J. WISE Date
11     Principal Senior Assistant Special Counsel
       DEREK E. fflNES
12     Senior Assistant Special Counsel
13     SEAN F. MULRYNE
       CHRISTOPHER M. RIGALI
14     Assistant Special Counsels
15
                                                                  /2//k / 7-«o<^/
16
       ALEXANDER SMIRNOV Date
17     Defendant

18                                                                /-?//y^/
19     MC^AfCQ^. SCHONFELD Date
          IVID Z. CHESNOFF
20
       Attorneys for Defendant Alexander Smirnov
21

22                                CERTIFICATION OF DEFENDANT

23           I have read this agreement in its entirety. I have had enough time to review and

24     consider this agreement, and I have carefully and thoroughly discussed eveiy part of it

25     with my attorney. I understand the terms of this agreement, and I voluntarily agree to

26     those terms. I have discussed the evidence with my attorney, and my attorney has advised

27     me of my rights, of possible pretrial motions that might be filed, of possible defenses that

28     might be asserted either prior to or at trial, of the sentencing factors set forth in 18 U.S.C.

                                                   13
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page14
                                                                   14ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2332
                                       #:2512




       § 3553(a), of relevant Sentencing Guidelines provisions, and of the consequences of

       entering into this agreement. No promises, inducements, or representations of any kind

       have been made to me other than those contained in this agreement. No one has threatened

       or forced me in any way to enter into this agreement. I am satisfied with the representation

       of my attorney in this matter, and I am pleading guilty because I am guilty of the charges

       and wish to take advantage of the promises set forth in this agreement, and not for any

       other reason.


                       ^-^ /%//D /^Z ^
 9 || ALEXANDER SMIRNOV Date
^ Q || Defendant

11
                         CERTIFICATION OF DEFENDANT'S ATTORNEY
12
             I am ALEXANDER SMIRNOV's attorney. I have carefully and thoroughly
13
       discussed every part of this agreement with my client. Further, I have fully advised my
14
       client of his rights, of possible pretrial motions that might be filed, of possible defenses
15
       that might be asserted either prior to or at trial, of the sentencing factors set forth in 18
16
       U.S.C. § 3553(a), of relevant Sentencing Guidelines provisions, and of the consequences
17
       of entering into this agreement. To my knowledge: no promises, inducements, or
18
       representations of any kind have been made to my client other than those contained in this
19
       agreement; no one has threatened or forced my client in any way to enter into this
20
       agreement; my client's decision to enter into this agreement is an informed and voluntary
21
       one; and the factual basis set forth in this agreement is sufficient to support my client's
22
       entry of a guilty plea pursuant to this agreement.
23

24                                           CG.-'iCl
                                             CG.-'^VI
                                                ,Ut



25                                       -Jr^- l^\^
                  ' A. SCHONFELD ^ r^.^ Date
26     DAVID Z. CHESNOFF
27     Attorneys for Defendant Alexander Smirnov

28

                                                  14
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page15
                                                                   15ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2333
                                       #:2513




 1 II EXHIBIT "B"

 2 || STATEMENT OF FACTS IN SUPPORT OF PLEA AGREEMENT FOR
 3 || DEFENDANT ALEXANDER SMIRNOV
 4 || Defendant ALEXANDER SMIRNOV was a resident of Los Angeles, California

 5 II and a self-described "consultant.'

 6 || Defendant was born in the U.S.S.R. and was naturalized as a U.S. citizen on July

 7 ||21,2015.
                   United States v. Alexander Smirnov, No. 2:24-CR-00091-ODW

 9 || Defendant was a confidential human source ("CHS") with the Federal Bureau of

1 ° II Investigation ("FBI"). As a CHS, Defendant was assigned a handling agent (hereafter "the

11 II Handler") who was a special agent on an FBI squad that investigated violations of federal

12 || criminal law.

13 || As a CHS, Defendant provided information to the Handler that was then used in

14 various criminal investigations conducted by the FBI. Defendant knew that information

15 || he provided was used in criminal investigations because, among other reasons, the Handler

16 II advised him that he might have to testify in court based on the information he provided on

17 || multiple occasions, including, but not limited to: 10/1/2010, 5/17/2011, 11/28/2012,

18 || 04/12/2013, 8/29/2013, 7/10/2015, and 3/11/2020. Defendant also knew the information
19     he provided was used in criminal investigations because Defendant participated in a

20     number of operations where he was authorized to engage in criminal activity as part of an

21     ongoing criminal investigation.

22           Defendant was admonished by the Handler that he must provide truthful
23     information to the FBI when he first became a CHS in 2010 and on multiple occasions

24     thereafter, including, but not limited to: 10/1/2010, 1/20/2011, 5/17/2011, 9/14/2011,
25     8/29/2012, 11/28/2012, 4/12/2013, 8/29/2013, 1/22/2014, 7/9/2014, 7/10/2015,
26     9/29/2016, 9/26/2017, 9/26/2018, 9/27/2019, 3/11/2020, 2/19/2021, 10/28/2021,
27      10,17/2022, and 9/29/2023.
28

                                                15
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page16
                                                                   16ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2334
                                       #:2514



 1           In addition, when Defendant was authorized to engage in illegal activity for

2      investigative purposes, he was further admonished that: "Under no circumstances may the

       CHS ... Participate in an act that constitutes obstruction of justice (e.g., perjury, witness

       tampering, witness intimidation, entrapment, or fabrication, alteration, or destruction of

       evidence, unless such illegal activity has been authorized)." When Defendant was given

       this admonishment, he signed an FBI form that contained this statement, including on

       10/8/2014, 1/18/2017, 10/8/2018, 1/10/2019, and 8/7/2020.
             Despite repeated admonishments that he must provide truthful information to the

       FBI and that he must not fabricate evidence, Defendant provided false derogatory

10     information to the FBI about Public Official 1, an elected official in the Obama-Biden
11     Administration who left office in January 2017, and Businessperson 1, the son of Public

12     Official 1, in 2020, after Public Official 1 became a candidate for President of the United
13     States of America.

14            In March 2017, Defendant reported to the Handler that he had had a phone call with
15     the owner of Ukrainian industrial conglomerate Burisma Holdings, Limited (hereafter

16     "Burisma Official I") concerning Burisma's interest in acquiring a U.S. company and

17     making an initial public offering ("IPO") on a U.S.-based stock exchange. In reporting

18     that conversation to the Handler, Defendant also noted that Businessperson 1, Public

19     Official 1's son, was a member of Burisma's Board, a fact that was publicly known.

20     Notably, Defendant did not report in 2017 that in the preceding two years, Burisma
21     Official 1 admitted to Defendant that he had paid Public Official 1 $5 million when Public
22     Official 1 was still in office, as Defendant later claimed. That information was

23     memorialized in an official record of the FBI on a Form 1023 (hereafter the "2017 1023").
24            Three years later, in May 2020, Defendant sent the Handler a series of messages

25     expressing bias against Public Official 1, who was then a candidate for President of the
26     United States of America and the presumptive nominee of one of the two major American

27     political parties.

28

                                                   16
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page17
                                                                   17ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2335
                                       #:2515



1              One month later, in June 2020, Defendant reported, for the first time, two meetings

2      in 2015 and/or 2016, during the Obama-Biden Administration, in which he claimed
 3     executives associated with Burisma, including Burisma Official 1, admitted to him that

 4     they hired Businessperson 1 to "protect us, through his dad, from all kinds of problems,"

 5     and later that they had specifically paid $5 million each to Public Official 1 and
 6     Businessperson 1, when Public Official 1 was still in office, so that "[Businessperson 1]

 7     will take care of all those issues through his dad," referring to a criminal investigation

       being conducted by the then-Ukrainian Prosecutor General into Burisma and to "deal with

 9     [the then-Ukrainian Prosecutor General]." Defendant was in Los Angeles, California, at

10     the time he made these statements to the Handler.

11             Defendant also reported in June 2020 two purported phone calls between himself

12     and Burisma Official 1 wherein Burisma Official 1 stated that he had been forced to pay
13     Public Official 1 and Businessperson 1 and that it would take investigators 10 years to find
14     records of illicit payments to Public Official 1.
15             The information Defendant provided the Handler was memorialized on a Form 1023

16     (hereafter the "2020 1023"), an official record of the FBI, which was finalized on June 30,

17     2020.
18             The events Defendant first reported to the Handler in June 2020 were fabrications.

19     In truth and fact. Defendant had contact with executives from Burisma in 2017, after the

20     end of the Obama-Biden Administration and after the then-Ukrainian Prosecutor General

21     had been fired in February 2016 — in other words, when Public Official 1 could not
22     engage in any official act to influence U.S. policy and when the Prosecutor General was

23     no longer in office. Defendant transformed his routine and unextraordinary business

24     contacts with Burisma in 2017 and later into bribery allegations against Public Official 1,
25     the presumptive nominee of one of the two major political parties for President, after

26     expressing bias against Public Official 1 and his candidacy.
27             When he was interviewed by FBI agents in September 2023, Defendant repeated
28     some of his false claims, changed his story as to other of his claims, and promoted a new

                                                   17
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page18
                                                                   18ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2336
                                       #:2516



1      false narrative about the son of Public Official 1 after he met with Russian intelligence

2      officials.

 3                    United States v. Alexander Smirnov, No. 2:24-CR-00702-ODW

 4            Defendant received more than two million dollars in income from multiple sources

       in 2020, 2021 and 2022. He used these funds to pay personal expenses for himself and

       his Domestic Partner, a woman that he has referred to as his girlfriend and at other times

       his wife, although they are not married. These expenditures included a $1.4 million Las

       Vegas condominium, aBentley, and hundreds of thousands of dollars of clothes Jewelry

       and accessories for himself and Domestic Partner purchased at high-end retailers in Los

10     Angeles and Las Vegas. Defendant directed the payers to wire the money to:

11                  a. a Bank of America (hereafter "BoA") account ending in 3928 held in the

12                     name of Avalon Group Inc. (hereafter" Avalon Account"), which the

13                     defendant controlled;
14                  b. a Wells Fargo account ending in 1356 held in the name of Domestic Partner,

15                     ("Domestic Partner Account") which the defendant controlled and into which

16                     the defendant also transferred approximately $1.8 million from the Avalon

17                     Account; and

18                  c. a Wells Fargo account ending in 1299 held in the name of Goldman

19                     Investments Group, which the defendant controlled and into which he also

20                     transferred $150,000 from the Avalon Account.

21            Avalon Group Inc. ("Avalon") is the defendant's alter ego. Avalon was incorporated

22     in the State of Delaware on January 22, 2020. The defendant identified himself in a State
23     of Delaware Annual Franchise Tax Report as the CEO ofAvalon and its only officer and

24     director. According to bank account applications, the defendant identified himself as the

25     president ofAvalon. On a business credit card application dated June 18, 2022, Smirnov

26     listed $60,000 in total annual income and $250,000 in gross business income, identified

27     investment income as the source of his income, and listed his current position as real estate.

28

                                                   18
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page19
                                                                   19ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2337
                                       #:2517



 1     Despite having an IRS tax filing requirement, Avalon never filed a U.S. Corporation

2      Income Tax Return on Form 1120.

 3        I. Sources of Income

 4        A. Company 1
 5           In 2020, 2021 and 2022, Defendant received into the Avalon Account, $1,534,000
 6     from Company 1.
 7                  DATE            PAYOR                AMOUNT
 8                  9/22/2020       Wire - Company 1     $600,000
                    12/14/2020      Wire - Company 1     $750,000
 9
                    8/31/2021       Wire - Company 1     $60,000
10                  9/29/2021       Wire - Company 1     $60,000
                    10/27/2021      Wire - Company 1     $64,000
11
                    TOTAL                                       $1,534,000
12

13        B. BCG, LLCandPayor 1

14           In 2021 and 2022, Defendant received into the Avalon Account, $800,000 from

15     Payor 1 and BCG, LLC ("BCG"), an entity owned and controlled by Payer 1, including

16     the payments listed below.

17                   DATE            PAYOR                 AMOUNT
                     12/1/2021       Wire - BCG            $500,000
18
                     3/30/2022       Wire - Payor 1        $250,000
19                   8/29/2022       Wire - BCG            $50,000
20
                     TOTAL                                 $800,000

21        II. Transfers to the Domestic Partner Wells Fargo Account

22           In 2020, 2021 and 2022, the defendant transferred more than $1.8 million from the

23     Avalon Account to the Domestic Partner Account.

24           The defendant co-mingled these funds with other funds in the Domestic Partner

25     Account.

26

27

28

                                               19
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page20
                                                                   20ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2338
                                       #:2518



 1        III.Defendant Used His Unreported Income to Pay His and Domestic Partner's

2               Personal Expenses

 3           The defendant used unreported income he received in the Avalon Account and the

 4     Domestic Partner Account to pay various personal expenses for the defendant and for

 5     Domestic Partner.
 6           The largest personal expense was the purchase of a million-dollar condominium

 7     where he and Domestic Partner lived in Las Vegas in 2022.

 8           The second largest single expense occurred on October 11, 2022, when the

 9     defendant leased a Bentley using $122,360 in funds from the Domestic Partner Account.

10     The defendant signed the check made out to Bentley Financial Services for the lease.

11           From 2021 to 2024, more than $400,000 in personal credit card debt on the
12     defendant's Citi credit card was paid off from funds from the Domestic Partner Account.

13        IV. False and Fictitious Tax Returns

14           In order to conceal the millions of dollars he received in income in 2020, 2021 and

15     2022, the defendant created and filed false Forms 1040, U.S. Individual Income Tax

16     Returns, for himself and in Domestic Partner's name that included false and fictitious

17     income and expenses. The defendant used a professional tax return preparer to create

18     these returns. The professional tax return preparer, who worked in Los Angeles, used a

19     tax preparation software to create returns for the defendant. The defendant provided the

20     professional tax return preparer with the income and expense figures included in the

21     returns filed on his own behalf and the ones filed in Domestic Partner's name. The

22     defendant did not provide any documents that substantiated any of these figures. As a

23     result, the professional tax return preparer refused to sign the returns. The defendant told

24     the professional tax return preparer that he would not disclose how he earned any income

25     and that the professional tax return preparer should not inquire about how he earned his

26     income. The defendant also instructed the tax return preparer to delete any emails or

27     messages with the defendant, which the professional tax return preparer did. The

28     professional tax return preparer advised the defendant that the Schedule C to an U.S.

                                                  20
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page21
                                                                   21ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2339
                                       #:2519




       Individual Income Tax Return was the most audited part of a tax return because it was

       often used to cheat on taxes and that, as a result, the defendant should collect and maintain

       records that supported all the income and expenses he instructed the professional tax return

       preparer to include on Schedule C. The defendant provided income and expense numbers

       to the professional tax return preparer both for his Form 1040 and the Form 1040 that he

       submitted in Domestic Partner's name. The professional tax return preparer never spoke

       to or interacted with Domestic Partner in 2020, 2021 or 2022.

                In addition, on or about March 19, 2021, the defendant prepared and filed a false

       Form 1120-S, U.S. Income Tax Return for an S Corporation, for Goldman Investments

10     Group in 2020. This return included false and fictious income and expenses for Goldman

11     Investments Group. The Defendant did not use the services of the professional tax return

12     preparer in the creation of this return.

13        A. Alexander Smirnov Forms 1040

14              Defendant filed false Forms 1040, U.S. Individual income Tax Returns, for himself

15     where he falsely claimed on the Schedules C attached to each return that he received:

11                 a. $40,000, in gross receipts for "consulting" in 2020,

17                 b. $40,000 in gross receipts for "consulting" in 2021, and

18                 c. $50,000 in gross receipts for "consulting" in 2022.

19              The Defendant did not pay taxes on this fictitious income. Instead, on those

20     Schedules C, he claimed fictitious expenses in the following amounts in the following tax

21     years:

22                 a. In 2020, $31,980;
23                 b. In 2021, $39,878; and
24                 c. In 2022, $26,768.

25              As a result, the defendant falsely self-assessed owing the U.S. Treasury:

26                 a. In 2020, only $1,133 in taxes; defendant further reduced his tax obligations
27                    by falsely claimed a $600 CO VID-19 pandemic rebate for persons who
28

                                                    21
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page22
                                                                   22ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2340
                                       #:2520



 1                    earned $75,000 or less, and $538 in earned income credit (EIC) which he
2                     falsely claimed entitled him to a refund of $5;
 3              b. In 2021, $0 in taxes; defendant again further reduced his tax obligations by
 4                    falsely claiming a $1,400 COVID-19 pandemic rebate for persons who

 5                    earned less than $80,000, and $19 in EIC, which he then claimed entitled him
 6                    to a refund in the amount of $1,419; and

 7                 c. In 2022, only $4,136 in taxes.

          B. Domestic Partner Forms 1040

             To further conceal the millions of dollars in income he received and used to pay his

10     and Domestic Partner's personal expenses, including income deposited into the Domestic

11     Partner Account from which his personal expenses were paid, defendant also prepared and

12     filed false Forms 1040 in the name of Domestic Partner in 2020, 2021 and 2022 where he
13     falsely claimed on the Schedules C attached to each return that Domestic Partner received:

14                 a. $40,000, in gross receipts for "consulting" in 2020;

15                 b. $40,000 in gross receipts for "consulting" in 2021; and

16                 c. $60,000 in gross receipts for "consulting" in 2022.

17           Like his own Form 1040, defendant claimed on those Schedules C similar fictitious
18     expenses in the following amounts in the following tax years:

19                 a. In 2020, $31,314;
20                 b. In 2021, $36,689; and
21                 c. In 2022, $31,553.

22           As a result, the defendant falsely assessed that Domestic Partner owed the U.S.

23     Treasury:

24                 a. In 2020, $1,228 in taxes; the defendant further reduced any tax obligations

25                    by falsely claiming that Domestic Partner was entitled to a $538 EIC which
26                    he claimed resulted in Domestic Partner owing the U.S. Treasury only $690;

27

28

                                                    22
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page23
                                                                   23ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2341
                                       #:2521



 1               b. In 2021, $468 in taxes; the defendant again further reduced any tax
2                   obligations by falsely claiming that Domestic Partner was entitled to $470
 3                  EIC, which he then claimed entitled her to a refund in the amount of $2; and
 4               c. In 2022, $5,933 in taxes.

 5        C. Goldm an Investments Group Forms 1120

 6            To further conceal the millions of dollars in income he received into a bank account

 7     held in the name ofGoldman Investments Group, the defendant filed a Form 1120-S, U.S.

 8     Income Tax Return for an S Corporation, in the name of Goldman Investments Group in

 9     2021. The defendant falsely reported that Goldman had $89,282 in gross sales and
10     $92,300 in total deductions.

11        D. Defendant Signed the False Returns

12            In 2021, the defendant signed his own false return and the false returns he prepared

13     in the name of Domestic Partner and Goldman Investments Group for tax year 2020.

14            In 2022, the defendant signed his own false Form 1040 and signed the false Form
15      1040 that he prepared for Domestic Partner for tax year 2021
16            In 2023, the defendant prepared a false and fictious Form 1040 for Domestic Partner

17     and while he signed his own false and fictitious Form 1040, his signature did not appear

18     on Domestic Partner's return for tax year 2022.

19

20

21

22

23

24

25

26

27

28

                                                  23
     Case
      Case2:24-cr-00091-ODW
           2:24-cr-00091-ODW Document
                              Document205-1
                                       195 Filed
                                              Filed12/12/24
                                                    01/01/25 Page
                                                              Page24
                                                                   24ofof24
                                                                          24 Page
                                                                              PageID
                                                                                   ID
                                       #:2342
                                       #:2522




 1 11 CERTIFICATION OF DEFENDANT
 2 || I have read this STATEMENT OF FACTS IN SUPPORT OF PLEA
 3 || AGREEMENT ("statement of facts") in its entirety. I have had enough time to

 4 || review and consider this statement of facts, and I have carefully and thoroughly discussed

 5 || every part of it with my attorney. I agree that this statement of facts is accurate and correct,

 6 || and is sufficient to support a plea of guilty to the charges described in the plea

 7 || agreement and to establish the Sentencing Guidelines factors forth in paragraph 19 of the

       plea agreement.

 9



10 II ^ _ ^A/
11 || ALEXANDER SMIRNOV Date
                                                               /2./ ^/^i^y

-Y 2 || Defendant

13


                         CERTIFICATION OF DEFENDANT'S ATTORNEYS
15
             We are ALEXANDER SMIRNOV's attorneys. We have carefully and thoroughly
16
       discussed every part of this statement of facts with my client and agree that it is sufficient
17
       to support a plea of guilty to the charges described in the plea agreement and to establish
18
       the Sentencing Guidelines factors set forth in paragraph 19 of the plea agreement.
19

20

21

22
               5^_ /^//o/^
       Ffi^H^b A. SCHONFELD Date
       DAVID Z. CHESNOFF
23     Attorneys for Defendant ALEXANDER
       SMIRNOV
24

25

26

27

28

                                                  24
